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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF HAWAIL

V 23- -B
ORDER GRANTING MOTION TO
Plaintiff, APPEAR PRO HAC VICE AS TO
John P. Fiske
VS.

MAUI ELECTRIC COMPANY, LIMITED et al.,

Defendant.

ORDER GRANTING MOTION
TO APPEAR PRO HAC VICE

The Court GRANTS the Motion of John P. Fiske to

Appear Pro Hac Vice.

Name of Attorney: John P. Fiske

Firm Name: Baron & Budd, P.C.

Firm Address: 11440 W Bernardo Ct Suite 265, San Diego, CA 92127
Attorney CM/ECF

Primary email address: |Jjfiske@baronbudd.com

Firm Telephone: (858) 225-7200

Party Represented Plaintiff, COUNTY OF MAUI

IT IS SO ORDERED.
DATED: Honolulu, Hawaii,

